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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )         8:04CR443-2
                                               )
                    Plaintiff,                 )
                                               )
      vs.                                      )
                                               )         ORDER
KEVIN WARNER,                                  )
                                               )
                    Defendant.                 )

      IT IS ORDERED that:

      (1)    The government’s oral request for hearing is granted.

      (2)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 66) has been set before the undersigned United States district judge on
Tuesday, April 3, 2007, at 12:00 noon, in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

       (3)     At the request of the defendant through his counsel, the defendant will
participate in the hearing by telephone.

      (4)    The Marshal is directed not to return the defendant to the district.

      (5)    The defendant is held to have waived his right to be present.

      March 14, 2007.                       BY THE COURT:

                                            s/ Richard G. Kopf
                                            United States District Judge
